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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

   LATONYA RACHELLE BENNINGS,         §
       Plaintiff,                     §
                                      §
   v.                                 §    CIVIL ACTION NO. 3:18-cv-02599-L-BN
                                      §
   UT SOUTHWESTERN MEDICAL            §
   CENTER,                            §
         Defendant.                   §
______________________________________________________________________________

   DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
______________________________________________________________________________

       Defendant University of Texas Southwestern Medical Center (“UT Southwestern” or

“Defendant”) files this Motion to Dismiss pursuant to Federal Rules of Civil Procedure 12(b)(6).

As set forth more fully in the Brief filed in support of this motion, Plaintiff’s claims are due to be

dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6) for failing to state a claim upon

which relief can be granted.

       Pro se Plaintiff Latonya Bennings (“Bennings” or “Plaintiff”) filed her original Complaint

[DE 3] on September 28, 2018, and her Amended Complaint [DE 8] on October 23, 2018.

Defendant moves this court to dismiss all claims asserted in Plaintiff’s Amended Complaint. First,

Plaintiff’s claim asserting a hostile work environment based on sexual harassment is time-barred

because a complaint was not filed with the EEOC within 300 days of the discriminatory conduct.

Second, Plaintiff’s claim asserting race and color discrimination can be dismissed for failing to

allege actionable conduct that is sufficiently severe or pervasive to constitute a hostile work

environment. Lastly, her retaliation claim can be dismissed because it does not allege an adverse

employment action under Title VII.
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       In sum, UT Southwestern request that the court dismiss Bennings’s Amended Complaint

(DE 8) for failure to state a claim upon which relief can be granted.

                                               Respectfully submitted,

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                                               ATTORNEYS FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

      I hereby certify that on December 17, 2018, a true and correct copy of the foregoing
document was sent via Federal Express Overnight Delivery to:
LaTonya R. Bennings
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Grand Prairie, Texas 75050

                                               /s/ Cristina M. Moreno
                                               CRISTINA M. MORENO
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